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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SZ DJI TECHNOLOGY CO., LTD.,
                                   Plaintiff,

                             V.                                 No. 1:24-CV-02970-PLF

U.S. DEPARTMENT OF DEFENSE, et al.,
                                   Defendants.


                       NOTICE OF WITHDRAW AL OF COUNSEL

       Pursuant to Local Court Rule 83.6(b), Plaintiff SZ DJI Technology Co., Ltd. files this

Notice of Withdrawal of Counsel to withdraw Loretta E. Lynch of Paul, Weiss, Rifkind, Wharton

& Garrison LLP as counsel for Plaintiff SZ DJI Technology Co., Ltd. Plaintiff will continue to be

adequately represented by experienced counsel.



Dated: November 27, 2024



                                                          By: /s/~              f ~
                                                          Loretta E. Lynch (admitted pro hac
                                                          vice)
                                                          PAUL, WEISS, RIFKIND,
                                                          WHARTON & GARRISON LLP
                                                          1285 6th Avenue
                                                          New York, NY 10019
                                                          Tel. (212) 373-3118
                                                          lelynch@paulweiss.com
                                                          rnai Ito :kshanmugam@paulweiss.com

                                                          Counsel for Plaintiff SZ DJI
                                                          Technology Co., Ltd.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on November 27, 2024, I caused the foregoing Notice of Withdrawal

of Counsel to be electronically filed using the Court's CM/ECF system, and service was effected

electronically pursuant to Local Rule 5.4(d) to all counsel of record.


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                                              Loretta E. Lynch 6/
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